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                      Exhibit A
           Excerpts from October 20, 2009
                Hearing Transcript




Exhibit to the March 12, 2010 Motion In Limine to Exclude Certain Evidence and Argument
                           Related to Plaintiffs’ Damages Claim
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                                                                                          7 (Pages 22 to 25)
                                                                    22                                                                       24
 1   causation is established by the fact that any reduction of           1   for Roxane products: Just lowering them by two cents would
 2   1 percent or more of the Dey drugs will establish causation          2   change the median and the allowed amount.
 3   as to Dey, and as to the Roxane drugs, any reduction of              3          Now, this impact exists, as I said, up through the
 4   1 percent or more.                                                   4   third quarter of 2001. A declaration of Ian Dew -- let me
 5             So this Court does not have to decide what is the          5   just refer your Honor to the language of Carolyn Helton's
 6   appropriate "but for" AWP. You don't have to decide what's           6   declaration where she says -- I'm sorry -- with regard to
 7   the appropriate spread, speed limit. All of our drugs have           7   both companies, that for this period, any reduction of
 8   spreads way in excess of 30 percent. And so any reasonable           8   1 percent or more in the AWPs of the Dey products would
 9   reduction, any reasonably honest AWP would have affected the         9   lower the median and the allowed amount. The same is true
10   median. So we're not asking the Court to determine damages          10   as to the Roxane products.
11   for us. So that's why I think this piece of our case -- and         11          And our consultant Ian Dew prepared a summary of
12   we're just talking -- this looks like $3.52 as opposed to           12   the claims data. The claims data of the Cigna DMERC
13   $1.70 or something, but when this is multiplied out through         13   Region D claims for this product shows that about a million
14   the case, the effects are very substantial.                         14   claims were paid by Cigna for ipratropium bromide; and of
15             I would like to jump to the last array in this            15   those, approximately 90 percent, over 900,000, were paid at
16   time period, which is the third quarter of 2001. You can            16   either $3.52 or 95 percent of that $3.52, which is $3.34.
17   see on the screen, your Honor, this is a more sophisticated         17   The rest of the paid claims, approximately 10 percent, were
18   array. It's in a spreadsheet. Almost all of the arrays in           18   paid at an amount consistent with the provider's charged
19   this case were produced in electronic format, and therefore         19   amount.
20   it's actually rather easy to substitute different numbers to        20          Now, we have not moved for summary judgment for
21   see what happens, and I'd like to do that with a replicate          21   the time period after 2001 quarter three. At that point in
22   of this array in Excel format.                                      22   time things are a little bit different, and I'm going to
23             THE COURT: Where is this?                                 23   come back to this same spreadsheet and illustrate this
24             MR. HENDERSON: This is a replicate of what you            24   because Dey has moved for summary judgment on a piece of the
25   just saw.                                                           25   case which relates to our view that the combined impact of

                                                                    23                                                                       25
 1             THE COURT: What I just saw was what number so I            1   Dey and Roxane must be considered.
 2   can follow it? In other words, Mr. Henderson, I'll never             2          In short, after the third quarter of 2001, we can
 3   remember this tomorrow.                                              3   change the AWPs of Dey down to a penny, and it doesn't
 4             MR. HENDERSON: That's right. This is a replicate           4   change the outcome, the median calculation. We can change
 5   of the page marked Page 35 of 74 of the same --                      5   the AWPs of Roxane down to 1 cents, and it still doesn't
 6             THE COURT: Thank you.                                      6   change the median calculation. However, if we change the
 7             MR. HENDERSON: And for your information, in the            7   AWPs, if we lower the AWPs of both Dey products and Roxane
 8   bottom right-hand corner of the document is a footer, which          8   products by 1 percent or more, it does affect the median.
 9   was actually added for purposes of litigation, which shows           9          And I think it's helpful to see why this happens,
10   the electronic production pathway, just for purposes of all         10   and what I'm going to do is go to a replicate of the next
11   parties to show exactly where that is, but that footer also         11   quarter when things change. This array is virtually
12   identifies the year and the quarter when the array was in           12   identical with one exception: Apotex has entered the market
13   effect.                                                             13   with a new product. We can see that their AWP for a package
14             In this particular replication that's on the              14   of 25s is fairly high. It's $4.48, which is higher than the
15   screen, your Honor, I've eliminated a few or I've hidden a          15   Dey products and the Roxane products.
16   few columns so everything can fit on one page so I don't            16          Now, under Dey's theory of the case on which they
17   have to be looking around too much. But you'll see the              17   seek summary judgment, because there is one more company
18   cursor is on Dey's product, first product, package of 25s.          18   that has entered the market with an inflated AWP, according
19   And if that is lowered to just $3.50, and I do that for each        19   to Dey, the United States cannot recover a penny because
20   one, you can see the generic median here where I have the           20   Dey's products in isolation do not affect the median;
21   cursor went down from $3.52 to $3.51.                               21   likewise, Roxane products in isolation do not affect the
22             The brand names are shown in this lower panel.            22   median; and, according to their view of the case, the United
23   The lowest brand is $3.52, which is Roxane's ipratropium            23   States' ability to prove damages and recover evaporates
24   bromide NovaPlus drugs, but the allowable amount has changed 24          because one additional company has entered the market. And
25   to $3.51. And the same is true if we changed the numbers            25   I would suggest to your Honor, that just cannot be. We have
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                                                                                            8 (Pages 26 to 29)
                                                                    26                                                                      28
 1   clearly demonstrated that these companies --                         1   proof of liability only with respect to one company; and
 2          THE COURT: Well, couldn't you get penalties                   2   when you substituted the arrays in that case, it didn't
 3   anyway?                                                              3   change the median. And in fact we followed that approach in
 4          MR. HENDERSON: Yes.                                           4   the case of Dey with respect to its albuterol drug, a same
 5          THE COURT: So why does -- I mean --                           5   drug. We didn't sue all of the other parties in there. And
 6          MR. HENDERSON: The False Claims Act allows us to              6   the damages we've calculated against Dey are very small,
 7   recover our losses.                                                  7   tens of thousands of dollars.
 8          THE COURT: When you say you can't collect a                   8          THE COURT: You're saying the difference here is,
 9   penny, I mean, wouldn't knowingly false presentation of              9   there are two fraudulent actors, if you will?
10   claims money create a penalty situation even if you can't           10          MR. HENDERSON: That's correct, and we've proven
11   prove damages?                                                      11   wrongful conduct on the part of both of them, and their
12          MR. HENDERSON: Well, that would be our position.             12   combined impact establishes/demonstrates a big loss. And
13   I'm sure the defense would argue that there's no causation          13   there can be no question, your Honor, that the Medicare
14   because it wouldn't have affected the amount of the claim.          14   program suffered substantial losses as a result of the
15          THE COURT: So you still need the causation, even             15   combined impact of false pricing.
16   if it's completely false?                                           16          THE COURT: Okay, since we only have ten minutes
17          MR. HENDERSON: We would probably have a disputed 17               left, why don't you deal with the purple elephant in the
18   legal argument on that, your Honor, but I think it's evident        18   room, which is the government knowledge defense. Does that
19   that we have proven this demonstrates that Dey and Roxane           19   apply to this drug?
20   combined have a large impact on the allowed amount. And the         20          MR. HENDERSON: Well, we're talking about the
21   law doesn't leave us without a remedy for these losses,             21   Medicare context, so I suggest the government knowledge is
22   putting aside the civil penalty issue. The Restatement of           22   really resolved to the government's favor by the First
23   Torts, Section 442-A, Comment D, I'll just read it for you,         23   Circuit's recent decision, in which they effectively upheld
24   your Honor, quickly: "A force due to an act of a third              24   your interpretation of "average wholesale price." Certainly
25   person, which is wrongful toward another who is harmed, may         25   all the government knowledge --

                                                                    27                                                                      29
 1   be only a contributory factor in producing the harm. If so,          1          THE COURT: Well, that's absolutely true, they
 2   both the actor and the third person are concurrently liable.         2   did. On the other hand, I didn't deal with -- I don't
 3   This is true although the actor's conduct has ceased to              3   remember whether ipratropium bromide was on a list in the
 4   operate actively and has merely created a condition which is         4   OIG reports and whether or not there was a DOJ price for
 5   made harmful by the operation of the intervening force set           5   them. I mean, it was different in those branded drugs
 6   in motion by the third party's negligent or otherwise                6   factually, not in terms of the standard but factually.
 7   wrongful conduct."                                                   7          MR. HENDERSON: I understand, your Honor, and
 8           And then it goes on to say, your Honor, "However,            8   there have been -- there was one OIG report focusing on
 9   while there is concurrent liability, the two forces are not          9   ipratropium bromide.
10   concurrent causes, as that term is customarily used. To be          10          THE COURT: In what year?
11   a concurrent cause, the effects of the negligent conduct of         11          MR. HENDERSON: I think it was the early 2000s.
12   both the actor and the third person must be an active and           12   What was the year? 1998? Okay, I'll take Roxane's word for
13   substantially simultaneous operation."                              13   it.
14           And here we have the effects of the wrongful                14          THE COURT: And what does it do? It lists the
15   conduct of both Dey and Roxane in effect in simultaneous            15   true price?
16   operation affecting the outcome of the median calculation.          16          MR. HENDERSON: It indicates -- it evaluates the
17           Just so I can highlight to you --                           17   discounts that were available in the market and discusses
18           THE COURT: You know, I struggled with this                  18   that the AWPs for ipratropium bromide were inflated.
19   mightily in the big class action suit.                              19          THE COURT: At the levels that you have them in
20           MR. HENDERSON: Yes, I'm aware of that.                      20   that graph? Do you remember?
21           THE COURT: I struggled with it, and there were no 21                    MR. HENDERSON: I don't recall. There are some
22   good cases on this. There's that sort of abstract         22             significant inflations there. But let's assume for argument
23   Restatement of Torts language. It's a very hard issue.              23   that the OIG understood at that time and had some specific
24           MR. HENDERSON: Well, in that case, of course,               24   evidence that there was inflation in ipratropium bromide
25   your Honor only had one company before it, and there was            25   prices. Obviously, the government does not agree that an
